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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Kiel James Patrick LLC
                                                        Plaintiff,
v.                                                                   Case No.:
                                                                     1:18−cv−03777
                                                                     Honorable Andrea R.
                                                                     Wood
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                        Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 12, 2018:


       MINUTE entry before the Honorable Andrea R. Wood: Plaintiff has filed a notice
of voluntary dismissal [56] dismissing without prejudice all remaining Defendants (i) who
have not previously been dismissed, and (ii) against whom default judgment has not been
entered. All such Defendants are hereby dismissed without prejudice. Accordingly, all
claims as to all Defendants have now been resolved. This case is closed. Civil case
terminated. Mailed notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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